                                            Case 3:07-cv-05944-JST Document 4299 Filed 01/13/16 Page 1 of 6




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       IN RE: CATHODE RAY TUBE (CRT)                       MDL No. 1917
                                           ANTITRUST LITIGATION
                                   8                                                           Case No. C-07-5944 JST

                                   9                                                           ORDER ON DPP CLASS
                                           This Order Relates To:                              REPRESENTATIVE INCENTIVE
                                  10                                                           AWARDS
                                  11       ALL DIRECT PURCHASER ACTIONS
                                  12
Northern District of California
 United States District Court




                                  13             Now before the Court is a motion for approval of incentive awards to each of ten Class

                                  14   Representatives for the Direct Purchaser Plaintiff (“DPP”) class. See ECF No. 4056. The DPPs

                                  15   seek awards of $25,000 to each named Plaintiff, for a total of $250,000. No one has objected to

                                  16   the awards. See ECF No. 4114. The Court held oral argument on this motion on December 15,

                                  17   2015. After careful consideration and good cause appearing, the Court now GRANTS the motion

                                  18   for the reasons set forth below.

                                  19   I.        BACKGROUND
                                  20             After eight years of litigation, the facts of this case are well known to parties. The Court

                                  21   recites only certain background facts to help explain the basis for this award.

                                  22             The case is predicated upon an alleged conspiracy to price-fix cathode ray tubes (“CRTs”),

                                  23   a core component of tube-style screens for common devices including televisions and computer

                                  24   monitors.1 This conspiracy ran from March 1, 1995 to November 25, 2007, involved many of the

                                  25   major companies that produced CRTs, and allegedly resulted in overcharges of millions, if not

                                  26
                                       1
                                  27    Perhaps ironically, CRT technology has now become largely obsolete. See J.R. Raphael,
                                       Obsolete Technology: 40 Big Losers, PC WORLD (Jan. 13, 2016, 9:12 AM),
                                  28   http://www.pcworld.com/article/169863/obsolete_tech.html?page=2.
                                                                                           1
                                           Case 3:07-cv-05944-JST Document 4299 Filed 01/13/16 Page 2 of 6




                                   1   billions, of U.S. dollars to domestic companies that purchased and sold CRTs or finished products

                                   2   containing CRTs for purposes of resale.2 A civil suit was originally filed in 2007, ECF No. 1,

                                   3   consolidated by the Joint Panel on Multidistrict Litigation shortly thereafter, see ECF No. 122,

                                   4   assigned to Judge Samuel Conti, see id., and ultimately transferred to the undersigned, see ECF

                                   5   No. 4162.

                                   6          The Class Representatives named in the DPPs’ Consolidated Amended Complaint (“DPCAC”)

                                   7   for which incentive awards are sought are: (1) Crago, d/b/a Dash Computers, Inc.; (2) Arch

                                   8   Electronics, Inc.; (3) Hawel A. Hawel, d/b/a City Electronics; (4) Meijer, Inc. and Meijer Distribution,

                                   9   Inc.; (5) Nathan Muchnick, Inc.; (6) Princeton Display Technologies, Inc.; (7) Radio & TV

                                  10   Equipment, Inc.; (8) Royal Data Services, Inc.; (9) Studio Spectrum, Inc.; and (10) Wettstein and

                                  11   Sons, Inc. d/b/a Wettstein’s (collectively, “Class Representatives” or “named Plaintiffs”). Settling

                                  12   Defendants include parent and/or subsidiary corporations of Chunghwa, Philips, Panasonic, LG,
Northern District of California
 United States District Court




                                  13   Toshiba, Hitachi, and Samsung SDI. DPPs maintain their class suit against Mitsubishi and also

                                  14   have a settlement that was recently approved with Thomson and TDA. See ECF No. 4260..

                                  15          Given the length of the conspiracy, the resources of Defendants, and the potential value of

                                  16   recovery in this case, discovery has been unsurprisingly extensive.3 In connection with a separate

                                  17   motion, the parties noted that millions of pages of discovery have been produced and more than

                                  18   one hundred depositions have been taken. See ECF No. 4055 at 9-10. As relates to the instant

                                  19   motion, named Plaintiffs were required to spend time with their counsel reviewing drafts of the

                                  20   original complaint as well as the later-filed consolidated amended complaint; to review and

                                  21   respond to interrogatories and document requests; and to sit for deposition. See ECF No. 4056-1

                                  22   (“Zirpoli Decl.”) ¶¶ 4-8. Each named Plaintiff responded to a total of 75 separate document

                                  23   requests, and participated “in the collection of responsive hard copy documents and, in some cases,

                                  24

                                  25   2
                                         Products purchased for personal use fall within the scope of the Indirect Purchaser Plaintiff
                                  26   (“IPP”) class and are not the subject of this order.
                                       3
                                         Judicial resources expended on this case have also been significant. During a period of eight
                                  27   years, the case has required consolidation by the Joint Panel on Multidistrict Litigation,
                                       assignment of two Article III judges to preside over just the Multidistrict Litigation, four Special
                                  28   Masters, support of uncounted staff assigned to the Special Masters, and continued work by
                                       approximately ten different judicial law clerks.
                                                                                          2
                                           Case 3:07-cv-05944-JST Document 4299 Filed 01/13/16 Page 3 of 6




                                   1   identification of ESI sources likely to contain responsive data, if applicable.” Id. ¶ 5. This sometimes

                                   2   required Class Representatives to “utilize[] software to extract extensive transactional database

                                   3   information . . . . These document requests required the Class Representatives to search for and

                                   4   produce both hard copy and, in certain circumstances, electronic documents from multiple sources.”

                                   5   Id. In total, the Class Representatives produced over 12,000 pages of documents. See id.

                                   6           In addition to document requests, each Class Representative was required to review and

                                   7   respond to eight sets of interrogatories, totaling 78 separate interrogatories. Id. ¶ 6. Class

                                   8   Representatives also were required to keep abreast of major filings in the case -- the master docket for

                                   9   which spans over 4,000 entries -- and were required to review briefs and pleadings, consult with class

                                  10   counsel regarding litigation strategy or settlement negotiations, and discuss other matters with counsel.

                                  11   Id. ¶ 7. Finally, each of the Class Representatives “spent a significant amount of time preparing for

                                  12   and being deposed.” Id. ¶ 8.4
Northern District of California
 United States District Court




                                  13           None of the Class Representatives conditioned or were asked to condition their

                                  14   participation upon receipt of an incentive award or any benefit greater than that of any of the other

                                  15   class members. Id. ¶ 3. Even so, Class Representatives were required to devote a substantial

                                  16   amount of time and effort in this case not required of absent class members.

                                  17           Absent class members will receive a pro rata share of the total class Settlement Fund

                                  18   (valued at $127.45 million). The formula for each pro rata share is to take an individual’s (or

                                  19   company’s) purchase -- weighted at 100% of value for CRTs as components, 75% of value for

                                  20   computer monitors, and 50% of value for TVs -- divided by the total amount of (weighed)

                                  21   purchases in the entire class and multiply it by the value of the Settlement Fund. See, e.g., ECF

                                  22   No. 2728 at 19.

                                  23   ///

                                  24   ///

                                  25   ///

                                  26
                                  27   4
                                        A comparable account of time invested by the Class Representatives can be found in the
                                  28   declarations submitted with the previously referenced motion for attorneys’ fees, ECF No. 4055-1
                                       ¶¶ 51-52.
                                                                                        3
                                             Case 3:07-cv-05944-JST Document 4299 Filed 01/13/16 Page 4 of 6



                                       II.      LEGAL STANDARD
                                   1
                                                “[N]amed plaintiffs, as opposed to designated class members who are not named plaintiffs,
                                   2
                                       are eligible for reasonable incentive payments.” Staton v. Boeing Co., 327 F.3d 938, 977 (9th Cir.
                                   3
                                       2003). “Incentive awards are discretionary . . . and are intended to compensate class
                                   4
                                       representatives for work done on behalf of the class, to make up for financial or reputational risk
                                   5
                                       undertaken in bringing the action, and, sometimes, to recognize their willingness to act as a private
                                   6
                                       attorney general.” Rodriguez v. W. Pub. Corp., 563 F.3d 948, 958-59 (9th Cir.2009). Further,
                                   7
                                                       The district court must evaluate [incentive] awards individually,
                                   8                   using relevant factors including the actions the plaintiff has taken to
                                                       protect the interests of the class, the degree to which the class has
                                   9                   benefitted from those actions, the amount of time and effort the
                                                       plaintiff expended in pursuing the litigation and reasonable fears of
                                  10                   workplace retaliation.
                                  11   Staton, 327 F.3d at 977 (citation and internal quotations and alterations omitted). District courts

                                  12   must scrutinize “all incentive awards to determine whether they destroy the adequacy of the class
Northern District of California
 United States District Court




                                  13   representatives.” Radcliffe v. Experian Info. Solutions, Inc., 715 F.3d 1157, 1165 (9th Cir. 2013);

                                  14   see also id. at 1663; Staton, 327 F.3d at 977; Dyer v. Wells Fargo Bank, N.A., 303 F.R.D. 326,

                                  15   334-35 (N.D. Cal. Oct. 2, 2014).

                                  16   III.     DISCUSSION
                                  17            In this Circuit, an incentive award of $5,000 is presumptively reasonable, and an award of

                                  18   $25,000 or even $10,000 is considered “quite high.” See Dyer, 303 F.R.D. at 335 (citing Harris v.

                                  19   Vector Mktg. Corp., No. C-08-5198 EMC, 2012 WL 381202, at *7 (N.D. Cal. Feb. 6, 2012)).

                                  20   Even so, upon consideration of each of the factors set forth in Staton, the Court finds that an

                                  21   incentive award of $25,000 per Class Representative is appropriate on the facts of this case.

                                  22            First, the Class Representatives filed suit, thereby taking the first key step necessary to

                                  23   protect the interests of the class. Second, the class has benefited from these actions by receipt of a

                                  24   settlement currently valued at over $127 million dollars (and climbing). Third, and most

                                  25   importantly, the amount of time and effort each named Plaintiff expended in pursuing this

                                  26   litigation has been extensive. This litigation has continued far longer than most normal class

                                  27   actions and has required frequent and repeated work (document production, interrogatory

                                  28   responses, docket review, deposition preparation, etc.) in a volume greater than is normal for most
                                                                                           4
                                           Case 3:07-cv-05944-JST Document 4299 Filed 01/13/16 Page 5 of 6




                                   1   class action suits. Class Representatives spent eight years responding to nine sets of document

                                   2   requests and eight sets of interrogatories totaling 78 separate interrogatory requests. Named

                                   3   plaintiffs reviewed pleadings and motions, and sat for deposition. Cf. Monterrubio v. Best Buy

                                   4   Stores, L.P., 291 F.R.D. 443, 463 (E.D. Cal. 2013) (reducing named plaintiff’s incentive award

                                   5   from the $7,500 requested to $2,500 because of disparity between the award to the named plaintiff

                                   6   and class members when there was “no evidence that plaintiff spent more time assisting counsel

                                   7   than occurs in the average case”). And fourth, the risk of retaliation was quite real. Defendants

                                   8   are many of the larger names in the CRT-business industry.5 A Class Representative could

                                   9   reasonably have been concerned about a backlash from Defendants, reducing that Representative’s

                                  10   business opportunities with respect to products manufactured, sold, or otherwise controlled by

                                  11   Defendants.

                                  12          Finally, the Court notes that the incentive rewards constitute a very small percentage of the
Northern District of California
 United States District Court




                                  13   class’ total recover. Given a recovery of over $127.45 million, a total of $250,000 spread among

                                  14   ten named plaintiffs is still only 0.196%. C.f. Hopson v. Hanesbrands Inc., 2009 WL 928133, *10

                                  15   (N.D. Cal. 2009) (approving $5,000 payment to plaintiff in wage and hour case, representing an

                                  16   unusually high but justified in the circumstances 1.25% of the settlement amount).

                                  17          When compared to other similar (or smaller) cases in this judicial district, the incentive

                                  18   awards here are well within the range of incentive awards granted by other courts. See Harris,

                                  19   2012 WL 381202, at *7 (collecting cases); In re High-Tech Employee Antitrust Litig., No. 11-CV-

                                  20   02509-LHK, 2015 WL 5158730, at *18 (N.D. Cal. Sept. 2, 2015) (awarding $120,000 and

                                  21   $80,000 to class representatives in a case that settled for $415 million, noting such awards were in

                                  22   line with “megafund” cases, and collecting cases); Glass v. UBS Fin. Servs., Inc., No. C-06-4068

                                  23   MMC, 2007 WL 221862, at *17 (N.D. Cal. Jan. 26, 2007) aff’d, 331 F. App’x 452 (9th Cir. 2009)

                                  24   (approving award of $25,000 per class representative in a six-year case settling for $45 million

                                  25   where named plaintiffs provided help with informal discovery, insight into an industry, “placed

                                  26   something at risk by putting their names on a complaint against one of the largest brokerage

                                  27
                                       5
                                  28    For example, Samsung Group, part of the Samsung SDI Defendants, has $470.2 billion in assets
                                       and employs over 425,000 people. See ECF No. 4055 at 18 n.6.
                                                                                    5
                                         Case 3:07-cv-05944-JST Document 4299 Filed 01/13/16 Page 6 of 6




                                   1   houses in America”); Van Vranken v. Atl. Richfield Co., 901 F. Supp. 294, 299-300 (N.D. Cal.

                                   2   1995) ($50,000 to a class representative who assisted for four years in a case that settled for $65.5

                                   3   million); see also Chu v. Wells Fargo Investments, LLC, Nos. C 05–4526 MHP, C 06–7924, 2011

                                   4   WL 672645, *5 (N.D. Cal. Feb. 16, 2011) (awarding $10,000 to two plaintiff representatives

                                   5   involved in case for five years and $4,000 to three representative plaintiffs participating in case for

                                   6   two years, from a $6.9 million settlement fund); In re CV Therapeutics, Inc., Sec. Litig., No. C03-

                                   7   3709 SI, 2007 WL 1033478, at *2 (N.D. Cal. Apr. 4, 2007) (awarding $26,000 for reimbursement

                                   8   of time and expenses pursuant to statutory authority applicable to private securities litigation).

                                   9          In light of the foregoing, the Court concludes that an award of $25,000 to each Class

                                  10   Representative is reasonable.

                                  11   IV.    CONCLUSION
                                  12          The Court hereby ORDERS that the Class Representatives shall each receive an incentive
Northern District of California
 United States District Court




                                  13   award in the amount of $25,000, for a total of $250,000. The incentive awards shall be paid from

                                  14   the Settlement Fund and the interest earned thereon.

                                  15          IT IS SO ORDERED.

                                  16   Dated: January 13, 2016
                                                                                        ______________________________________
                                  17
                                                                                                      JON S. TIGAR
                                  18                                                            United States District Judge

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                          6
